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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                      CASE NO. 07-60027-CR-ZLOCH/Snow




  UNITED STATES OF AMERICA,

              Plaintiff,

  v.

  FRANK HERNANDEZ, et al.

            Defendants.
  ______________________________
                                     O R D E R

              THIS CAUSE is before the Court on defendant Theophilos

  Antoniou's Motions to Adopt (DE 437 & 438) Co-Defendants EVA's and

  Tropic's Response in Opposition to Government's Application for
  Protective Order and Motion to Strike.            Being fully advised, it is

  hereby

              ORDERED AND ADJUDGED that the motions are GRANTED, except

  as   to   any   matter    where   standing   is   an   essential   element   of

  participation.      Any appeal from or objection to any magistrate
  judge ruling must be taken individually, specifically and timely.

              DONE AND ORDERED at Fort Lauderdale, Florida, this 19th

  day of July, 2007.




  Copies to:

  See Attached Service List
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                                 SERVICE LIST

                       USA v. FRANK HERNANDEZ, et al.

                      CASE NO. 06-60027-CR-ZLOCH/Snow




  AUSA Ellen Cohen (WPB)
  Richard Hersch, Esq. (D-Frank Hernandez & Amada Hernandez)
  Chris Grillo, Esq. (D-Marhee)
  Greg Ross, Esq. (D-Marhee)
  Bruce Lyons, Esq. (D-Antonio)
  Joe Rosenbaum, Esq. (D-Pinkoff)
  Jon May, Esq. (D-E.V.A. Global & Tropical)
  David Bogenschutz, Esq. (D-Antoniou)
  David Vinikoor, Esq. (D-Wiseberg)
  Jeffrey Voluck, Esq. (D-Helfant)
  Sean Ellsworth, Esq. (D-Francois)
  Alberto Acuna, Esq. (D-Concept RX)
  Jeff Harris, Esq. (D-Cruz)
  Michael Hursey, Esq. (D-Walker)
  Richard Della Fera, Esq. (D-Echols)
  Dan Forman, Esq. (D-Edwards and Local Counsel for Hardiman)
  Mark Hardiman, Esq. (D-Edwards)
  AFPD Chantel Doakes (FTL) (D-Baron)




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